 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 1 of 40 PageID #:29111



                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

IN RE: ABBOTT LABORATORIES, ET AL.,                  MDL NO. 3026
PRETERM INFANT NUTRITION PRODUCTS
LIABILITY LITIGATION                                 Master Docket No. 22 C 00071
                                 ___

This Document Relates to:                            Hon. Rebecca R. Pallmeyer

All Cases


                                     MEMORANDUM ORDER

       Defendants Abbott Laboratories (“Abbott”) and Mead Johnson Nutritional Company

(“Mead Johnson”) face hundreds of claims filed in courts across the country alleging that their

cow’s-milk-based infant formula (“CMBF”) 1 caused pre-term infants to develop necrotizing

enterocolitis (“NEC”), a serious and life-threatening disease for babies who are born too early.

On April 8, 2022, the United States Judicial Panel on Multidistrict Litigation issued a transfer order

[119] consolidating all actions against Abbott and Mead Johnson (relating to defects in their infant

formulas) in this court as MDL No. 3026. The parties have selected four cases to proceed to trial

as bellwethers; the first trial (Mar v. Abbott Lab’ys, No. 22-cv-00232) is scheduled to begin on

May 12, 2025. (See Stip. [561].) As part of the consolidated proceedings, Plaintiffs have

presented the testimony of two general causation experts—Dr. Jennifer Sucre and Dr. Logan

Spector—which purports to establish a causal link between CMBF and an increased risk of NEC

in pre-term infants, applicable to all claims in the MDL. As the first bellwether trial approaches,


       1
               Throughout the reports and scientific literature at issue in these motions,
Defendants’ cow’s-milk-based products are referred to by different terms and acronyms (including
“cow’s milk-based formula products (CMBPs)” and “bovine-based nutrition products (BBNP)”).
The main distinction between the term CMBF and the terms CMBP and BBNP is that the latter
terms include fortifier products in addition to ready-to-feed formula products (see infra n. 30.)
Given the facts of the chosen bellwether cases, however, Plaintiffs are only using Dr. Spector and
Dr. Sucre for their conclusions relating to formula products. (See Pls.’ Summ. J. Opp’n [619] at
8.) Thus, for consistency, the court refers to the class of formula products at issue in the pending
Daubert motions as CMBF.
     Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 2 of 40 PageID #:29112



Defendants jointly move to exclude Dr. Sucre [592] and Dr. Spector’s [605] testimony under

Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993). As

exclusion of these experts would be fatal to Plaintiffs’ claims, Defendants concurrently move for

summary judgment [610] for all claims against them in the MDL. For the reasons below, the court

denies Defendants’ motions to exclude the experts and the related motion for summary judgment.

                                         BACKGROUND

         The claims underlying this MDL share a basic factual pattern: an infant is born

prematurely, is fed with one of Defendants’ CMBFs, and develops NEC shortly after. Plaintiffs

claim that this is no coincidence; they proffer two experts providing distinct pathways to concluding

that Defendants’ CMBF products cause NEC. First, Dr. Spector makes the “epidemiological”

case: looking at the statistical relationship between CMBF ingestion and NEC in experimental

studies to draw a causal connection between them. (See generally Spector Rep. [616-23].) Dr.

Sucre makes the “mechanistic” case: reviewing studies on the ingredients in CMBF to explain the

biological mechanism (i.e. the “how”) behind CMBF causing NEC. (See generally Sucre Rep.

[616-35].)

I.       Dr. Spector

         A.     Qualifications

         Dr. Logan Spector is a Professor and Director of the Division of Epidemiology and Clinical

Research in the Department of Pediatrics at the University of Minnesota Medical School. (Spector

Rep. at 3.) He earned his Ph.D. in Epidemiology from Emory University in 2002 and then joined

the University of Minnesota’s faculty as a postdoctoral fellow. (Id.) He has published some 200

articles in peer-reviewed journals, with his research focused on the causes and outcomes of

childhood cancers. (Id.) While Dr. Spector has not conducted research on NEC prior to this

litigation, he is a generalist in pediatric epidemiology with experience in epidemiological study

design and analysis. (Id. at 4.)



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  Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 3 of 40 PageID #:29113




        B.      Methodology

        In preparation for his report in this case, Dr. Spector performed a “systematic literature

review” (“SLR”). (Id. at 5.) An SLR is a “well-accepted method” in epidemiology which “calls for

the researcher to search for studies relevant to the defined research question using a pre-

specified, comprehensive research strategy with pre-specified inclusion and exclusion criteria that

are uniformly applied.” (Id.) Once this defined search is complete, the researcher then conducts

“a strong and objective critical appraisal of each identified study” and provides “a quantitative or

qualitative summary of the evidence.” (Id.) As explained in his report, Plaintiffs hired Dr. Spector

to conduct an SLR reviewing the relationship, if any, between CMBF 2 and NEC among preterm

infants. (Id. at 6.)

                1.     Initial Search

        Dr. Spector began his SLR by designating eligible study designs, determining the time-

period for the search, and choosing search terms likely to elicit relevant studies. (Id. at 6.) First,

Dr. Spector limited his search to studies reporting original research on a human population using

one of three study designs: randomized clinical trials (“RCT”), cohort studies, and case-control

studies. (Id.) 3 Next, he limited the period of his search to studies published between 1970 and


        2
                  As noted supra n. 1, the court uses CMBF to describe the products at issue in this
litigation, but it is worth noting that Dr. Spector’s report does not make a distinction between
formula and fortifier products—his analysis includes studies that compare fortifier products as well
as those that compare formula products. But given his testimony that any observed relationship
between cow’s-milk-products and NEC would be stronger for formula products than for fortifier
products (see Spector Dep. Tr. [616-3] at 147:16–148:24), any conclusion as to the association
between cow’s-milk-based product (generally) and NEC applies, a fortiori, to CMBF.
        3
                Dr. Spector describes these three study designs as the “three basic study
designs . . . which form a hierarchy of evidence for causality,” but does not describe the
differences between the different kinds of epidemiological study. (See id. at 5.) Such a
description can be found in the Reference Manual of Scientific Evidence published by the Federal
Judicial Center. See Fed. Jud. Ctr., Reference Manual on Scientific Evidence 555 (3d. ed. 2011)
(hereinafter “RMSE”). In an RCT, study participants are randomly assigned into two groups; one
group is exposed to the agent (in this case, that would be CMBF), the other is not. See RMSE at


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  Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 4 of 40 PageID #:29114



September 2023 (when he initially conducted his search), later supplemented by a search for the

period between September 2023 and March 2024. (Id.) Finally, Dr. Spector selected a broad

range of search terms to provide “a comprehensive universe of eligible literature” and include

studies in which NEC may not have been the primary focus. (Id.) His selected search terms fell

into three categories: population terms (“premature/prematurity,” “low birth weight (LBW),” “small

for gestational age (SGA),” and “Neonatal Intensive Care Unit (NICU)”); exposure terms (“feed,”

“feeding,” “formula,” “fortifier,” “cow’s milk,” “bovine milk,” “breast milk,” “mother’s milk,” “total

parenteral nutrition or (TPN),” and “Similac or Enfamil”); and outcome terms (“Adverse event(s),”

“necrotizing enterocolitis” or “NEC,” “neonatal morbidities,” or “event-free survival”). (Id. at 6–7.)

        With these limitations and search terms, Dr. Spector used two software programs

(“Endnote” and “Covidence”) to query two comprehensive databases of epidemiological research:

Ovid MEDLINE and Web of Science. (Id. at 7.) The programs searched for every combination

of population, exposure, and outcome terms, and detected and deleted any references that were

duplicated across multiple searches. (Id.) After duplicates were deleted, the search resulted in

5,681 references (i.e. studies) that met the initial search criteria. (Id. at 8.)




555. The study observes the difference in outcomes between the two groups of participants, and
any RCT must end (for ethical reasons) the moment researchers have reason to suspect that
exposure to the agent is harmful. Id. Because an RCT can be closely controlled by the
researcher, it is considered the “gold standard” for determining the effect of exposure to an agent
and a particular health outcome. Id. But because RCTs are not always possible (for instance,
where a researcher suspects that exposure may have a negative effect), cohort studies and case-
control studies are alternative “observational study designs” that do not actively administer the
agent to study participants but observe health outcomes of individuals that have already been
exposed. Id. at 557–59. In cohort studies, researchers define a study population without regard
to the disease status of the individuals (they may or may not have the specific health outcome of
interest), researchers then classify the participants into those who have been exposed to the
agent, and those who have not, and observe the difference in health outcomes between those
subgroups. Id. at 557–58. In case-control studies, researchers start with a group of individuals
who have a certain health outcome (the “case” group) and then select a group of similarly situated
individuals without that health outcome (the “control” group). Id. at 559. The researchers then
observe incidence of past exposure within the case and control groups to determine whether there
is a statistically significant difference. Id. at 559–60.


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  Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 5 of 40 PageID #:29115



                2.      Relevance and Full-Text Review

       Dr. Spector’s next step was to review the titles and abstracts of the manuscripts found by

the database searches and exclude any studies that were not relevant to the SLR. (Id. at 8.) A

manuscript was excluded as irrelevant if, based on the title or abstract, (1) it did not appear to

inform the purpose of the review, (2) it was a retrospective review (i.e., did not include original

data) 4, or (3) it was an animal or in vitro study. (Id.) Dr. Spector was joined in this step by another

epidemiologist, Dr. Meaghan Ransom, who separately performed a relevance review using the

same relevance criteria. (Id.)

        Following their independent reviews, Dr. Spector and Dr. Ransom largely agreed on a

small resulting number of relevant manuscripts: they initially agreed that 62 manuscripts were

relevant, disagreed on the relevance of 84 manuscripts, and agreed that 5,535 manuscripts were

not relevant. (Id.) The two then met and discussed the 84 manuscripts on which they disagreed

and came to a joint decision on whether to include the manuscripts, erring on the side of inclusion.

(Id.) The result was inclusion of 45 additional manuscripts, bringing the total to 107 that were

deemed relevant. Dr. Spector proceeded to a full-text review of those 107 manuscripts. (Id. at

9.)




        4
               In a supplemental report, Dr. Spector corrects this, stating that he did in fact include
retrospective cohort studies (Peng 2022, Sisk 2017, Xiong 2023, and Xu 2020) as well as
prospective cohort studies in his analysis. (Supp. Spector Rep. [616-39] at 5 n. 6.)


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  Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 6 of 40 PageID #:29116



        In the full-text review, Dr. Spector read the content of each manuscript 5 and applied

another set of exclusion criteria, 6 removing any manuscripts from the SLR that either (1) did not

include relevant data that could be extracted, (2) did not report original data or was presented a

re-analysis of previously-published data, (3) did not inform the SLR’s intent, 7 (4) was not written

in English, or (5) reported unadjusted 8 estimates of association between exposure and the NEC.

(Id.) Out of the 107 manuscripts reviewed in this step, 47 were excluded for failing to meet these

criteria, leaving 60 manuscripts eligible for the next step of Dr. Spector’s SLR: data abstraction.

(Id.)

                3.      Data Abstraction and Meta-Analysis

        From the remaining 60 manuscripts, Dr. Spector abstracted any data or meta-data

reflecting the estimate of association 9 between feeding methods and NEC observed in the study.


        5
                In his deposition, Dr. Spector testified that he only read 26 studies (the studies that
ultimately met all his inclusion criteria) “in their entirety” prior to writing his report. (See Spector
Dep. Tr. at 261:2–19.) The court does not read this as a necessary contradiction to the statement
in his report that 60 studies were subject to a “full-text” review, as the exclusion criteria in the full-
text review would be discernible without reading the manuscript in its entirety (e.g. manuscript
excluded if written in another language). Rather, this testimony clarifies that Dr. Spector’s full-
text review did not include reading the full text of each manuscript in its entirety—rather, it involved
looking to the text of the manuscript as opposed to the title and abstract for a deeper set of
exclusion criteria.
        6
                 Because Dr. Spector’s report does not compare his full-text review to a full-text
review performed by Dr. Ransom, the court assumes that Dr. Ransom did not conduct a separate
full-text review at this stage.
        7
                 Dr. Spector does not explain what this exclusion criteria means; the court assumes
that it essentially reapplies the exclusion criteria from the relevance review, excluding studies that,
based on his full-text review, he concludes do not bear on the relationship between formula and
NEC.
        8
               In this context, adjustment refers to the modification of the statistical relationship
between exposure and disease to account for potential “confounding factors”; that is, possible
alternative causes for the disease not accounted for in the study design. See RMSE at 596–97.
        9
                 As Dr. Spector explains, epidemiological studies may report an estimate of
association through different mathematic representations: “risk ratio,” “risk difference,” “hazard
ratio,” or “odds ratio.” (See Spector Rep. at 4, 9.) Each of these measures are calculated
differently, but represent the same concept: they are a representation of the relative occurrence,


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 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 7 of 40 PageID #:29117



(Id. at 10.) In doing so, he observed that many of the remaining manuscripts did not, in fact, report

adjusted estimates of association between feeding methods and NEC; he excluded these studies.

(Id. at 11.) Furthermore, because many of the studies involved “mixed feedings” (different cohorts

fed with different percentages of formula/fortifier rather than full formula or human-milk diets), Dr.

Spector also excluded at this stage any studies for which he could not determine the percentage

of the cohorts’ diets that were formula. (Id. at 10.) This left him with 12 RCT manuscripts and 14

observational study manuscripts (i.e. cohort or case-control studies) that met his eligibility criteria

and reported estimates of association between feeding diet and NEC, 10 adjusted for potential

confounding factors. (Id. at 9.)

       Dr. Spector provided the data abstracted from these 26 studies to Dr. Rebecca

Betensky, 11 who performed four separate meta-analyses using the data provided: one

synthesizing results from all 12 eligible RCT studies, one synthesizing results from 5 of the 12

eligible RCTs that specifically compared CMBF-diets to exclusively human-milk diets

supplemented with human-milk-derived products (Prolacta), 12 one synthesizing results from the


or “relative risk,” of the health outcome in the exposed population compared to the unexposed
population. (Id. at 4–5.)
       10
             Importantly, because different studies compared different mixtures of human-milk
and CMBF (i.e. one study may have compared a 100% human-diet to a mixture of human-milk
and CMBF, while a different study compared a 75%/25% human-milk/CMBF mixture to a
25%/75% human-milk/CMBF mixture) Dr. Spector designated, for each study, the predominantly
human-milk cohort and a predominantly cow’s-milk cohort. (Spector Rep. at 10.)
       11
               Dr. Betensky is a Professor and Chair of the Biostatistics Division of the New York
University School of Global Public Health. (Betensky Rep. [616-38] at 51.) She prepared a report
explaining her detailed background in biostatistics and her methods in preparing the meta-
analysis incorporated into Dr. Spector’s report. (See generally id.) Defendants have not moved
to exclude her report.
       12
                  Despite its importance to this litigation, the parties’ submissions for these motions
contain little information about Prolacta and its production/availability. As the studies cited in Dr.
Spector’s report explain, Prolacta refers to human-milk derived feeding products produced by
Prolacta Biosciences. (See Defs.’ Ex. 13, Embleton 2023 [592-13] at 3.) Prolacta Biosciences
produces both a human-milk derived formula (that is, “ready-to-feed” replacement for mother’s
milk) and human-milk derived fortifier (product adding nutrients to existing mother’s milk supply).


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 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 8 of 40 PageID #:29118



10 eligible cohort studies, and one synthesizing results from the 4 eligible case-control studies.

(See id. at 14–21.) Dr. Betensky’s calculations produced composite relative risk values from each

study-design category. From the RCT studies, she computed a relative risk of 1.67 with a 95%

confidence interval of 1.22–2.28; in other words, infants exposed to a predominantly cow’s-milk

formula diet were 67% more likely to develop NEC than infants fed a predominantly human-milk

diet. 13 (Id. at 15–16.) Because two of the eligible RCT studies (Lucas 1996 and Nogueira-Pileggi

2022) did not specify the NEC observed in the study as Bells Stage 2 or higher (advanced stages

of NEC), Dr. Betensky also computed a relative risk value excluding those studies, arriving at a

relative risk of 1.60 (increased risk of 60%) with a confidence interval between 1.15–2.21. (Id. at

17.) In her meta-analysis of the 5 RCTs that compared predominantly-CMBF diets to human-milk

diets containing Prolacta, Dr. Betensky computed a relative risk of 1.89 and a confidence interval

between 1.12–3.21. (Id.) From 10 eligible cohort studies, Dr. Betensky computed a relative risk

of 3.26 with a 95% confidence interval of 2.47–4.31; infants fed predominantly-CMBF diets were

226% more likely to develop NEC. (Id. at 19; Spector Redline at 18.) Finally, Dr. Betensky

computed an odds ratio 14 of 2.35 from the 4 eligible case-control studies with a 95% confidence



(See id.) As the parties explain elsewhere, Prolacta formula was only made available in
September 2014. (See Abbott Summ. J. Mem. [49] in No. 22 C 232, at 7 (citing September 2014
Prolacta Press Release, https://www.prolacta.com/en/news/prolact-rtf-100-human-milk-based-
premature-infant-formula-for-nicus/ (last accessed April 25, 2025).) Its fortifier appears to have
been on the market for “nearly two decades.” (Pl.’s Opp’n to Summ. J. [51] in No. 22 C 232 at
11.)
       13
               The 95% confidence interval means that this increased risk could be as low as
22% or as high as 128%. (See Spector Rep. at 16.) Note that, as discussed infra, Dr. Spector
admits having accidentally misstated some of the confidence intervals in his original report—
writing for example, that a 1.22–2.28 indicates a maximum possible risk of 228% rather than
128%. (See Spector Redline [605-8] at 15.) These errors are easy to identify in his report, as he
correctly records the confidence interval (e.g. 1.22–2.28) even when misstating the percentages.
(See id.) Where relevant, the court has supplied the correct percentage value, as noted in Dr.
Spector’s amended report.
       14
               Neither Dr. Spector nor Dr. Betensky explain why only this meta-analysis produces
a value in terms of “odds ratio” instead of “relative risk.” But as Dr. Betensky explains, when


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  Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 9 of 40 PageID #:29119



interval between 1.42–3.87—an increased odds of developing NEC of 135% among the exposed

population. (Id. at 20; Spector Redline at 19.) Excluding one case-control study that did not

specify the level of NEC, the odds ratio increased to 2.74 with a confidence interval of 1.48–5.09.

(Id. at 21.)

               4.      Bradford Hill Analysis

        In determining whether an observed association between exposure and disease is causal,

epidemiologists rely on the nine factors articulated by English epidemiologist Sir Austin Bradford

Hill, known as the “Hill criteria” or “Hill factors.” (Id. at 22); see also RMSE at 597–600. These

factors include (1) the strength of the association, (2) consistency of the exposure-disease

relationship across different studies, (3) specificity of the association (whether the exposure is

associated with only one disease or multiple outcomes), (4) the temporal relationship between

exposure and disease, (5) “biological gradient,” also known as dose-response (the amount of

exposure resulting in the incidence of disease), (6) extent to which association has been

established by experiment (as opposed to observation), (7) biological plausibility, (8) coherence

with knowledge available to the researcher, and (9) analogy to similar causal mechanisms. (Id.) 15

The factors are not meant to be mandatory or exhaustive; causation may be found on the basis

of several (but not all) factors, and there may be reasons outside the Hill criteria that counsel for

or against a causal relationship. (Id.); see RMSE at 600.




measuring the risk of low-frequency events like NEC, the calculation of the odds ratio becomes
“similar” to the calculation of relative risk. (Betensky Rep. at 39–40.)
        15
                 The RMSE articulates the nine Hill factors slightly differently: (1) the temporal
relationship between exposure and disease, (2) the strength of the observed association, (3) the
dose-response relationship (how much exposure is associated with incidence of the disease), (4)
replicability of the findings, (5) biological plausibility of causation or coherence with existing
knowledge, (6) consideration of alternative explanations, (7) cessation of exposure (whether
cessation reduces incidence of disease), (8) specificity of the association, and (9) consistency
with other knowledge. RMSE at 600–06. The court does not observe a meaningful difference
between the two articulations of the Bradford Hill analysis.


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 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 10 of 40 PageID #:29120



        In assessing the associations observed in the collected studies and Dr. Betensky’s meta-

analysis, Dr. Spector focused on four of the Hill factors: strength, consistency, temporality, and

establishment by experiment. Concerning strength, Dr. Spector concluded that the estimated

relationship between predominantly CMBF diets and NEC across the RCTs (+60%), cohort

studies (+226%), and case control studies (+174%) were strong associations supporting the

inference of causation according to “generally accepted epidemiological standards.” (Id.) As for

consistency, Dr. Spector noted that a strong association between CMBF diets and NEC was

observed across three different study designs, and further cited Dr. Betensky’s quantitative

measurement of consistency, known as the I2 value, 16 which supported a finding of high

consistency among the various studies. (Id. at 23; see also Betensky Rep. at 55–60 (showing I2

calculations for each meta-analysis).) Next, Dr. Spector noted that the temporality factor of the

Bradford Hill analysis was satisfied in each of the studies, as all recorded ingestion of the CMBF

before the incidence of NEC. (Id.) Finally, Dr. Spector explains that the existence of RCTs—

which are designed to minimize bias—establishing an association between CMBF and NEC

further supports a finding of causation under the experiment factor of the Bradford Hill analysis.

(Id. at 25.)

        Dr. Spector’s report also explains why he did not rely on specificity or dose-response in

his analysis. While admitting that a finding of specificity (that is, a one-to-one link between

exposure and disease) can be a strong factor in favor of causation, Dr. Spector noted that

specificity is not a necessary feature for determining a causal relationship; his literature did not

intend to determine an exclusive casual association between CMBF and pre-term NEC. (Id. at



        16
                Neither Dr. Spector nor Dr. Betensky explain this term or how it is calculated, but
as the raw data in Dr. Betensky’s meta-analyses suggests, the I2 term is a numerical
representation of the “heterogeneity” of the sample (see Betensky Rep. at 55)—that is, how
different the results of the studies in the meta-analyses are from each other. (See RMSE at 243
(explaining heterogeneity as a measurer of variance in a data set).) Low I2 values mean low
heterogeneity in the data sat, or low variance, which Dr. Spector explains is the same as high
consistency. (See Spector Rep. at 23.)

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 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 11 of 40 PageID #:29121



23.) As for biological gradient, or dose-response, Dr. Spector noted that the studies either did not

address dose-response, or did so qualitatively rather than quantitatively (that is, observing greater

effects in full-formula diets compared to mixed-feeding diets, but not providing a precise dose of

formula at which an association can be observed). (Id. at 24.)

        Finally, grouping together the plausibility, coherence, and analogy Hill factors, Dr. Spector

relied on and incorporated Dr. Sucre’s report (described below), which includes a lengthy

discussion of the possible biological mechanism of causation between CMBF and NEC. (See id.

at 25–26.) He accepted Dr. Sucre’s conclusions as consistent with his own generalist background

in pediatric health. (Id.)

                 5.     Conclusion

        Based on the results of his SLR, the meta-analysis performed by Dr. Betensky, and his

application of the Bradford Hill factors for causation, Dr. Spector “conclude[s] to a reasonable

degree of scientific certainty that feeding preterm infants [CMBF] caused NEC compared to

feeding [human milk].” (Id. at 26–27.)

        C.       Dr. Spector’s Deposition and Amended Report

        Dr. Spector’s original report was submitted on September 27, 2024, and he was deposed

on December 23, 2024. (See Supp. Spector Rep. [616-39] at 3; Spector Dep. Tr. [616-3].) During

his deposition, Defendants’ counsel brought his attention to a number of RCT studies that were

not included in the full-text review of his SLR, but appeared to be eligible under his inclusion

criteria.    (See Supp. Spector Rep. at 7–8 (listing 13 studies identified by Defendants and

Defendants’ experts as missing from his analysis).) After his deposition, Dr. Spector prepared

and submitted a supplemental report, offering various explanations for the absence from his SLR

of the studies identified by Defendants: he notes the possibility that the Endnote and Covidence

programs he used to delete duplicate references had erroneously deleted the 13 additional

studies, and that the search terms he selected (while broad) may not have captured the specific

terminology in the studies. (Id. at 4.) Moreover, he explains that for a vast majority of the allegedly

                                                  11
 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 12 of 40 PageID #:29122



“missing” studies, they would not have satisfied his inclusion criteria even if he had reviewed

them. For six of the identified studies (Gross 1983, Hagelberg 1990, Marseglia 2015, Martins

2009, Mukhopadhyay 2007, Tyson 1983), Dr. Spector determined that none of his outcome terms

were contained in the titles or abstracts of the studies, meaning that they would have been

excluded in his relevance review. (See Id. at 7–8.) Another four of the “missing” studies (Bhat

2003, Gupta 2020, Lucas 1990, Nandakumar 2020) would have been excluded because they had

insufficient or unreliable RCT data for abstraction. (Id.)

       Dr. Spector did identify three RCT studies (Costa 2019, Faerk 2000, Schanler 2005),

however, that he did not review in his SLR but would have “likely included,” had he reviewed them

in his search. (Id.) In supplementing his original report, Dr. Spector provided a new series of

meta-analyses, again performed by Dr. Betensky, incorporating the studies identified by

Defendants and their experts. First, Dr. Spector re-analyzed the RCT studies with the results of

the Schanler 2005 study added to the data set: this resulted in a relative risk value of 1.63

(increased from 1.60) with a confidence interval of 1.20–2.20. (Id. at 8.) 17 Next, Dr. Spector

requested a meta-analysis of all 13 allegedly “missing” studies, resulting in a relative risk of 1.81

with a confidence interval of 1.05–3.12. (Id. at 10.) Then, Dr. Spector requested a meta-analysis

of only the “missing” studies in which the subjects suffered from Bells Stage 2 NEC or higher

(Schanler 2005, Gupta 2020, Lucas 1990, Nandakumar 2020, Tyson 1983), which together

resulted in a relative risk of 2.29 with confidence interval of 1.10–4.75. (Id. at 11.) Dr. Spector

then added all the missing studies into a meta-analysis with his existing 12 RCTs, creating two

composite relative risk values: one value using only the RCT studies reporting NEC Bells Stage

2 or higher (1.70 with confidence interval of 1.36–2.28), and one combining all studies regardless

of the level of NEC reported (1.70 with confidence interval of 1.30–2.23).



       17
              Curiously, Dr. Spector did not request a meta-analysis adding only Costa 2019,
Faerk 2000, and Schanler 2005 to his existing group of RCT studies. He does not explain why.


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 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 13 of 40 PageID #:29123



       Finally, Dr. Spector addressed questions about an RCT, Adhisivam 2019. Dr. Spector

had included that study in his RCT meta-analysis but not in the meta-analysis for studies

comparing CMBF and Prolacta, as Defendants suggested he should have. (See id. at 12–13.)

As Dr. Spector explains in the supplemental report, though he initially conceded in his deposition

that Adhisivam 2019 should have been included in the Prolacta meta-analysis, a closer review of

the study after the deposition (in preparation for the supplemental report) revealed that it did not

in fact compare CMBF to diets containing Prolacta 18 and was properly excluded from the Prolacta

meta-analysis. (Id.) Nonetheless, he requested that Dr. Betensky re-analyze the Prolacta RCTs

with Adhisivam 2019 added to the set, finding that the addition resulted in a relative risk of 1.67

with a confidence interval of 1.01–2.77. (Id. at 16.)

       In sum, incorporating the studies identified by the Defendants in his deposition and in the

Defendants’ experts’ reports did not meaningfully alter the association between CMBF and NEC

that Dr. Spector identified in his original report, and his “conclusions remain[ed] unchanged” in his

supplemental report. (Id. at 17.)

II.    Dr. Sucre

       A.      Qualifications

       Dr. Jennifer Sucre is an Associate Professor in both the Mildred Stahlman Division of

Neonatology in the Department of Pediatrics at the Vanderbilt University School of Medicine and

of Cell and Developmental Biology at Vanderbilt University. (Sucre Rep. [616-35] at 4–5.) She

received a B.S. with honors in genetics from the University of Georgia in 2003, her M.D. from

Harvard Medical School in 2009, and completed an internship and residency in pediatrics at St.

Louis Children’s Hospital/Washington University School of Medicine in 2013. (Id.) She then

completed a fellowship in Neonatal-Perinatal Medicine at UCLA from 2013–16, during which she


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            As Dr. Spector points out in describing the study in his original report, Adhisivam
2019 compared pasteurized donor human milk fortified with CMBF to unfortified pasteurized
donor human milk (not containing Prolacta)—it thus would not inform a comparison between
CMBF and Prolacta. (Supp. Spector Rep. at 14.)

                                                 13
 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 14 of 40 PageID #:29124



also completed a research postdoctoral fellowship at the Eli and Edythe Broad Stem Cell

Research Center conducting research in cell and developmental biology. (Id.) She is a board-

certified pediatrician with a subspecialty board certification in Neonatal-Perinatal Medicine. (Id.)

       Beyond her professorships, Dr. Sucre is the founding director of Biodevelopmental Origins

of Lung Disease (BOLD) Center at Vanderbilt. (Id.) Her research focuses on lung development

and developmental lung disease in neonatal and perinatal infants. (Id. at 5–6.) Dr. Sucre has not

conducted research or published a paper relating to NEC. (See Sucre Dep. Tr. [614-9] at 19:3–

20:22.) She does maintain a clinical neonatology practice, however, and in that practice, Sucre

routinely diagnoses and cares for infants diagnosed with or suspected to have NEC. (Id. at 5.)

       B.      Methodology

       Dr. Sucre was retained by Plaintiffs to opine as to whether the weight of scientific evidence

establishes that CMBF can cause or substantially contribute to the development of NEC in

preterm infants. (Id. at 3.) In reaching her conclusion, she performed a “Qualitative Assessment”

also known as “Weight of the Evidence Analysis.” (Id. at 6.) In such an analysis, the scientist

considers multiple possible hypotheses, and weighs the evidence that supports or refutes each

hypothesis before arriving at a conclusion. (Id. at 7.) As Dr. Sucre describes it, the generally

accepted approach to a qualitative assessment breaks the process down into five steps: (1)

framing the question, (2) identifying the relevant publications; (3) assessing the quality of the

studies; (4) summarizing the evidence; and (5) interpreting the findings. (Id. at 8.)

               1.      Framing the Question

       Dr. Sucre framed the question for her analysis as “does exposure to CMBF cause and/or

substantially contribute to the development of NEC?” (Id. at 8.)

               2.      Identifying Relevant Publications

       In finding relevant articles for her review, Dr. Sucre queried the National Library of

Medicine National Center for Biotechnology Information PubMed Resource (“PubMed”), a

database of scientific and medical literature, for peer-reviewed articles studying the causes and

                                                 14
 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 15 of 40 PageID #:29125



development of NEC. (Id. at 7–8.) She conducted a search of PubMed using two search terms,

“Necrotizing enterocolitis” and “Formula,” generating approximately 1,000 articles for review. (Id.

at 8.) To simplify her review and isolate the most current research, Dr. Sucre restricted the search

to articles published between 2014 and 2024—545 articles in total. (Id.) Consistent with accepted

practice, Dr. Sucre reviewed additional manuscripts cited as references in those 545 articles,

regardless of whether the cited manuscript was published between 2014 and 2024. (Id. 8–9.)

               3.      Assessing the Quality of the Studies

       Having collected 545 articles that mention “Necrotizing enterocolitis” and “Formula” and

were published between 2014 and 2024, Dr. Sucre proceeded to read the abstract of each article

and gave each one a “rating” from 0 to 3. (Id. at 9.) She assigned a rating of “0” to papers where

the topic was clearly irrelevant (not concerning pre-term infants or CMBF) or the paper was not

written in English; “1” was assigned to papers that appeared to be of poor quality due to

inadequate controls in the underlying study, inadequate statistical methods, or conclusions not

supported by the data provided; “2” was assigned to articles that were relevant but merely

reviewed other original research; and “3” was assigned to original research manuscripts whose

conclusions appeared to be supported by data and rigorous research techniques. (Id.) This rating

system informed how thoroughly Dr. Sucre would then examine each article. Articles rated “0”

were not subject to further review. For articles rated between “1” and “3,” Dr. Sucre did a further

review for relevance to her research question. (Id.) She performed a more thorough read of all

articles rated “2” or “3,” reviewing the articles themselves and any references cited for important

context or support. (Id.) In this section of her assessment, no article out of the 545 was excluded

from her review; if an article proved to be irrelevant, it was assigned a “0.” (Id.) Dr. Sucre’s grade

for every article she reviewed can be found on a “Grading Table” attached as an exhibit to

Plaintiff’s response. (See Sucre’s Grading Table [614-7].)




                                                 15
 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 16 of 40 PageID #:29126



               4.      Summarizing and Interpreting the Evidence19

       The final step in Dr. Sucre’s qualitative assessment is her proposed explanation for the

way that ingesting CMBF causes NEC in pre-term infants. That explanation relies on articles

studying the development of NEC, animal studies testing CMBF in vivo on animal subjects, and

epidemiological analysis performed by Dr. Spector and Dr. Betensky. (See generally Sucre Rep.

at 15–39.) Dr. Sucre’s detailed report identifies the different stages of NEC (id. at 10–12),

describes how NEC can result in life-threatening complications and require high-risk surgery (id.

at 12–14), notes widely accepted clinical associations between NEC and different risk factors like

birth weight and feeding (id. at 14–15), outlines the benefits and drawbacks of different modes of

animal studies (id. at 17–23), and explains how malabsorption of macronutrients occurs in the gut

(id. at 23–24). The report points to crucial differences in the macronutrient makeup between

CMBF and human milk (id. at 24–29), as well as developmental differences between pre-term

and term intestines resulting in lower absorption capacities in pre-term digestive tracts (id. at 30–

33), and describes a mechanism through which activation of the TLR4, a protein that triggers an

inflammatory response when activated, leads to development of NEC (id. at 33–36).           Without

reproducing Dr. Sucre’s full report, her account of how CMBF causes NEC follows a

straightforward set of principles:

       1) CMBF contains complex macronutrients (carbohydrates, proteins, and fats) that differ

            from the nutrients found in human milk. (Id. at 24–29, 37.)

       2) Because the preterm infant gut is undeveloped and lacks key enzymes, it is unable to

            digest these nutrients, resulting in malabsorption of these nutrients in the gut. (Id. at

            37.)

       3) Undigested CMBF nutrients can then remain malabsorbed in the gut, acting as an

            energy source for bacteria. (Id.)


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              Dr. Sucre’s report combines step 4 and 5 of her qualitative assessment into one
section. (See Sucre Rep. at 10.)

                                                 16
 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 17 of 40 PageID #:29127



       4) Pathogenic bacteria (like E. coli) can feed on the malabsorbed nutrients, causing rapid

           overgrowth of bacteria in the preterm infant’s gut. (Id.)

       5) This process can result in NEC in three different ways: rapid growth of bacteria feeding

           on the malabsorbed nutrients can itself result in overdistension of the intestines, cell

           necrosis, or death of the surrounding tissue, leading to NEC; pathogenic bacteria like

           E. coli can proliferate and independently trigger the TLR4 receptor, leading to NEC;

           and the undigested CMBF nutrients and their byproducts can themselves activate

           TLR4, leading to NEC. (Id. at 38.)

               5.      Conclusion

       Taking together the scientific evidence, epidemiological research, and her own clinical

experience, Dr. Sucre concludes that “the weight of the scientific evidence supports my opinion

that to a reasonable degree of medical and scientific certainty, CMBF is causally associated with

and/or substantially contributes to the development of NEC.” (Id. at 40.)

                                       LEGAL STANDARDS

       Federal Rule of Evidence 702 governs the admissibility of expert testimony. It states:

       A witness who is qualified as an expert by knowledge, skill, experience, training,
       or education may testify in the form of an opinion or otherwise if:

                (a) the expert's scientific, technical, or other specialized knowledge will help
       the trier of fact to understand the evidence or to determine a fact in issue;

               (b) the testimony is based on sufficient facts or data;

               (c) the testimony is the product of reliable principles and methods; and

               (d) the expert has reliably applied the principles and methods to the facts
       of the case.

FED. R. EVID. 702. In Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993), the Supreme

Court recognized that Rule 702 creates a “gatekeeping role for the judge” by “assign[ing] to the

trial judge the task of ensuring that an expert’s testimony both rests on a reliable foundation and

is relevant to the task at hand.” 509 U.S. at 597. Key to this gatekeeping role is determining


                                                  17
 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 18 of 40 PageID #:29128



whether an expert has arrived at her conclusion using reliable methods; Daubert directs courts

evaluating reliability to look to factors including “(1) whether the scientific theory or technique can

be (and has been) tested; (2) whether the theory or technique has been subjected to peer review

and publication; (3) whether a particular technique has a known potential rate of error; and (4)

whether the theory or technique is generally accepted in the relevant scientific community.”

Schultz v. Akzo Nobel Paints, LLC, 721 F.3d 426, 431 (7th Cir. 2013) (citing Daubert, 509 U.S. at

593–94). “Importantly, this list is neither exhaustive nor mandatory.” C.W. ex rel. Wood v.

Textron, Inc., 807 F.3d 827, 835 (7th Cir. 2015). “The key to the gate is not the ultimate

correctness of the expert’s conclusions,” but “the soundness and care with which the expert

arrived at her opinion.” Schultz, 721 F.3d at 431.

                                           DISCUSSION

I.     Motion to Exclude Dr. Spector

       Defendants raise several arguments challenging Dr. Spector’s qualifications and the

reliability of his methodology in arriving at his conclusions in this case.            Regarding his

qualifications, they assert that his lack of experience in nutrition, caring for preterm infants, or

NEC renders him unqualified to render a causation opinion in this case. (See Defs.’ Spector

Mem. [605] at 24.) They further argue that Dr. Spector’s conclusions should be excluded on the

basis of “fit” because he could not opine about the “threshold” dose at which CMBF becomes

dangerous, nor did he consider studies comparing a 100% human-milk diet to a 90% human-milk

diet (fortified with 10% CMBF). (Id. at 20–24.) The bulk of Defendants’ arguments, however,

challenge the reliability of Dr. Spector’s systematic literature review method and his application of

the method in this case; they argue that he used a lower level of rigor in his SLR than he would

in an academic setting, that he did not reliably apply the Bradford Hill criteria to the facts before

him, that he failed to rule out alternative explanations for the epidemiological data, and that his

opinions bore “recognized indicia of unreliability” like a high error rate and lack of peer review.

(See generally id. at 5–20.) The court addresses these concerns in turn.

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 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 19 of 40 PageID #:29129



       A.      Dr. Spector’s Qualifications

       First, Defendants assert that because Dr. Spector is not a medical doctor, has not

previously researched the potential relationship between feeding and NEC, and has not cared for

preterm infants with NEC, he is not qualified to provide epidemiological opinions rendered in his

report. (Id. at 25.) This misstates the standard. Rule 702(a) does not require that an expert have

a specific expertise; it requires only that he “has the adequate education, skill, and training to

reach” the conclusions rendered in the case. Gayton v. McCoy, 593 F.3d 610, 617 (7th Cir. 2010)

(ultimately rejecting “the district court's assumption that Dr. Weinstein needed to have specific

cardiac training to testify as an expert in a case involving a heart-related death”). Significantly,

Dr. Spector’s report does not express a clinical opinion about the treatment of NEC, but instead

offers a review of epidemiological literature and biostatistical analysis. While he may lack specific

subject matter expertise on NEC, his extensive background in pediatric epidemiology and study

design make him qualified to render his opinion in this case.

       This court’s opinion in In re Zimmer Nexgen Knee Implant Prods. Liab. Litig., No. 11 C

5468, 2015 WL 5050214 (N.D. Ill. Aug. 25, 2015) is instructive. There, a bellwether case for an

MDL involving allegedly defective knee implant devices, the plaintiff objected to the qualifications

of an expert whose experience was in pediatric spine surgery—not knees or knee replacement

surgery.    2015 WL 5050214, at 5.      The court rejected this basis for excluding the expert,

concluding that the expert surgeon’s opinion was not “based on specialized knowledge of knee

mechanics, surgical procedures, or the engineering design of [the knee implant] products,” but

“focuses on his review of clinical research—a discipline in which he has significant interest,

knowledge, and expertise.” Id. The court allowed the expert to testify to conclusions “based on

his epidemiological and general clinical research expertise.” Id. The same rule applies here; Dr.

Spector’s experience in epidemiological research qualifies him to review and interpret the findings

of epidemiological research in this case.



                                                 19
 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 20 of 40 PageID #:29130



       B.      “Fit” of Dr. Spector’s Conclusions to the Facts

       “[T]he Daubert inquiry requires that the district court determine whether the testimony

would assist the trier of fact in understanding the evidence.” Deimer v. Cincinnati Sub-Zero

Prods., Inc., 58 F.3d 341, 345 (7th Cir. 1995). The Daubert Court itself referred to this as a

question of “relevance” and “fit,” holding that an expert’s testimony must have a “valid scientific

connection to the pertinent inquiry as a precondition to admissibility.” Daubert, 509 U.S. at 591–

92.

       Defendants argue that Dr. Spector’s conclusions are unhelpful to the jury because he

could not opine as to the threshold dose at which CMBF increases the risk of NEC and his

conclusions “are wholly inapplicable to the facts of the cases here.” (Defs.’ Mem. at 20.) They

point to Dr. Spector’s deposition testimony, in which he declined to opine as to the percentage of

formula at which CMBF is “sufficient to cause NEC,” stating only that “[w]hen you get to 100

percent, I’ll say it’s sufficient.” (See Spector Dep. at 286:23–287:9.) Because the vast majority

of cases in the MDL involve some amount of mixed feeding or transition from mother’s milk to

formula (i.e. less than 100% CMBF diet), Defendants argue that Dr. Spector’s conclusions do not

fit the facts of these cases. (Defs.’ Spector Mem. at 21.)

       As a preliminary matter, Defendants take Dr. Spector’s (admittedly inartful) answers in his

deposition out of context. The court does not interpret Dr. Spector’s answer that “[w]hen you get

to 100 percent, I’ll say it’s sufficient” as an admission that his causation opinion is “limited” to

100% CMBF diets. Rather, the more natural reading of Dr. Spector’s answers, in the context of

the deposition and of his report, is that while he observed an association between higher

percentage CMBF diets and higher rates of NEC, he was not able to reach a conclusion as to a

specific triggering threshold dose in his literature review. (See Spector Rep. at 24 (explaining

absence of threshold dose/dose-response data).) That does not make his causation opinion

“wholly inapplicable” to cases involving mixed feedings of CMBF and human-milk.             On the



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 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 21 of 40 PageID #:29131



contrary, Dr. Spector’s broad analysis of studies exploring a range of different feeding mixtures

(see supra n. 8) applies across the diverse feeding methods in the MDL cases.

       As Defendants see things, in order to be qualified as a causation expert, Dr. Spector must

opine on the threshold dose of CMBF. (See Defs.’ Spector Mem. at 20.) They cite two cases,

Krik v. Exxon Mobil Corp., 870 F.3d 669 (7th Cir. 2017) and In re Deepwater Horizon BELO

Cases, 119 F.4th 937 (11th Cir. 2024), for the suggestion that there is a “legal requirement” that

a causation expert be able to opine about the level exposure required for an adverse effect. (Id.)

But neither case creates the kind of strict rule Defendants suggest. In Krik, plaintiff, who suffered

from lung cancer, sued his employer alleging that on-the-job exposure to asbestos was the cause

of his disease. 870 F.3d at 672. On appeal from a verdict for the employer, the Seventh Circuit

affirmed the trial court’s exclusion of a toxicology expert who proposed to testify that “any

exposure” to asbestos could cause lung cancer, thus effectively shifting the burden to the

defendant to disprove alternative causes. Id. at 677. The court noted that plaintiff offered no

“evidence about how much asbestos exposure Krik experienced and whether that dosage could

have been a substantial contributing factor to lung cancer.” Id. at 674–75, 677. But this holding—

that a causation expert cannot shift the burden of proof to the defendant by suggesting that “any

exposure” can cause a disease—does not establish an affirmative requirement that a causation

expert must identify a precise threshold dose in order for the testimony to be admissible. In this

case, Dr. Spector has not opined that “any exposure” to CMBF causes NEC. He has instead

explained that although a precise triggering exposure may not be ascertainable, the

epidemiological literature does establish that a dose-response relationship likely exists between

CMBF and NEC (more formula increases likelihood of NEC). (Spector Rep. at 24.)

        In re Deepwater also does not require that Dr. Spector opine about a precise threshold

dose. In that case, a group of workers alleged that the chronic sinusitis they suffered from was

caused by their exposure to chemicals during their work in cleanup of the Gulf coast oil spill. 119

F.4th at 940. The district court excluded the plaintiffs’ general causation experts and granted

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 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 22 of 40 PageID #:29132



summary judgment for defendants.        Id.   Affirming that result, the Eleventh Circuit rejected

plaintiff’s suggestion that “proof of some threshold level of exposure is only relevant

to specific causation.” Id. at 946 (quotation marks omitted). Applying Eleventh Circuit precedent

for admitting toxicology expert testimony, 20 the court held that the trial court did not abuse its

discretion by requiring plaintiffs’ causation expert to identify a specific threshold at which the

purported toxin becomes hazardous. Id. at 945–46. Defendants take this to mean that a general

causation expert must always testify to the threshold dose, but the Eleventh Circuit itself

recognizes that a general causation expert can appropriately offer evidence on the issue of

“whether an agent increases the incidence of disease in a group.” Id. at 946 (quoting McClain v.

Metabolife Int’l, Inc., 401 F.3d 1233, 1239 (11th Cir. 2005)). That is exactly what Dr. Spector’s

report establishes in this case—in the absence of clear threshold dose evidence, he opines about

a dose-responsive relationship between CMBF feeding and NEC risk.

       Judge Kennelly’s opinion in In re Testosterone Replacement Therapy Prods. Liab. Litig.

Coordinated Pretrial Proc., No. 14 C 1748, 2018 WL 4030585 (N.D. Ill. Aug. 23, 2018), while not

binding on this court, presents a persuasive argument that the absence of a threshold dose is not

a basis for excluding a causation expert. There, the defendant sought to exclude plaintiffs’ general

causation expert because he could not establish a dose-response relationship between

defendant’s product (AndroGel) and plaintiffs’ alleged cardiovascular injuries. 2018 WL 4030585,

at *5. But noting an absence of cases holding that a threshold dose opinion is required, and the

fact that the expert “does discuss how certain studies suggest that higher doses of AndroGel pose

greater [cardiovascular] risks,” Judge Kennelly rejected the argument. Id. The same logic applies

here. No case requires that Dr. Spector reach beyond the available scientific literature and assert



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               The expert in In re Deepwater was an epidemiology expert, not a toxicologist. See
119 F.4th at 946. In opposing the application of a “threshold dose” requirement, the plaintiffs
argued that the requirement should only apply to toxicological testimony, not epidemiological
opinions. Id. The Eleventh Circuit did not resolve this question, noting that the district had a
“myriad” of other reasons to exclude the expert. Id.

                                                22
 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 23 of 40 PageID #:29133



a threshold dose; it is sufficient that he discusses dose-response as it appears in the available

studies. 21 (See Spector Rep. at 24.)

       Regarding “fit,” Defendants alternatively argue that Dr. Spector’s opinions do not fit the

facts of the MDL because “he limited his opinions to only infants with a birthweight of less than

1,500 grams” and “could not give a causation opinion applicable to infants born weighing above

1,500 grams” despite at least one of the bellwether infants weighing over 1,500 grams at the time

of developing NEC. (Defs.’ Spector Mem. at 23.) It is unclear how Defendants conclude that Dr.

Spector’s opinion is limited to infants weighing less than 1,500 grams—Dr. Spector’s report does

not state such a limitation and, as Plaintiffs point out, the studies that made up his analysis were

not limited to infants below 1,500 grams. (See Pls.’ Spector Mem. [617] at 21 (listing studies).)

Defendants appear to rely on a handful of Dr. Spector’s deposition answers where he was unable

to provide a discrete opinion regarding only infants weighing above 1,500 grams (see Spector

Dep. Tr. at 283:25–284:3; 338:23–339:8), but the fact that Dr. Spector could not provide an

opinion limited to infants weighing more than 1,500 grams does not mean his opinion is “limited”

to cases where the infant weighs less than that amount. This basis for exclusion is groundless.




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                Defendants supplement their motion to exclude Dr. Spector by bringing the court’s
attention to Judge Tharp’s recent decision in Zurbriggen v. Twin Hill Acquisition Co., Inc., et al.,
No. 1:17-CV-5648 (N.D. Ill. Apr. 11, 2025). (See Defs.’ Supp. Authority [642-1].) In that case,
airline employees brought claims against the manufacturer of their uniforms, claiming that the
uniforms contained skin-irritant chemicals. (Id. at 2–3.) Relevant to Defendants’ argument, Judge
Tharp found that the plaintiffs’ toxicology expert (Dr. Carson) was not reliable because he could
not identify “the minimum dosage at which detected sensitizers and irritants become harmful.”
(Id. at 23.) But, importantly, the expert in Zurbriggen sought to opine to the same “any exposure”
theory of dose that the Seventh Circuit ruled is inadmissible in Krik, and that this court noted does
not describe Dr. Spector’s testimony. (See id. at 24.) This was particularly egregious given that
“[defendant] found many of the same supposedly hazardous chemicals on legacy uniforms Dr.
Carson deems safe.” (Id.) Here, Dr. Spector has not similarly conceded that certain diets are
safe at a certain percentage of CMBF, and the court does not read Judge Tharp’s opinion as
holding that expert epidemiological testimony as to dose-response is not reliable where threshold
dose is not established in the literature.

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 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 24 of 40 PageID #:29134




        C.     The Rigor of Dr. Spector’s Analysis

        Defendants challenge Dr. Spector’s SLR methodology, asserting that he did not apply the

same rigor to preparing his report as he would have in an academic setting. (Defs.’ Spector Mem.

at 6.) Defendants are correct that a key aspect of the court’s gatekeeping function under Daubert

is ensuring that the expert “employs in the courtroom the same level of intellectual rigor that

characterizes the practice of an expert in the relevant field.” Kumho Tire Co. v. Carmichael, 526

U.S. 137, 152 (1999). Evidence that Dr. Spector used a different level of rigor in performing his

SLR for this case than he would in an academic setting would indeed be grounds to doubt the

reliability of his methods. See In re Paraquat Prods. Liab. Litig., 730 F. Supp. 3d 793, 818 (S.D.

Ill. 2024) (excluding expert that “failed to apply the same level of intellectual rigor to his work in

the four trial selection cases that would be required of him and his peers in a non-litigation

setting”).

        But in arguing that Dr. Spector’s work lacked his usual academic rigor, Defendants offer

nothing more than deposition answers taken out of context and misstatements about his SLR

method. First, they note Dr. Spector’s statement that he did not read study discussions “in depth”

(Spector Dep. Tr. at 132:22–25), and calculate that Dr. Spector spent no more than thirty seconds

with each of the 5,500 studies that turned up in his initial search (Defs.’ Spector Mem. at 6 (citing

id. at 260:14—21)). That practice, Defendants urge, is inconsistent with Dr. Spector’s stated

academic practice of “hours and hours of deliberation” and “agoniz[ing] over every word” (Spector

Dep. Tr. at 201:10–14). But a closer read of the cited portions of the deposition undermines the

notion that Dr. Spector was admitting a lack of rigor. Regarding his statement that he did not read

the study discussions in depth, Dr. Spector explains in that same paragraph that he did not focus

on the discussion sections of the studies because “it’s methods and results that matter the most”—

a reasonable judgment given that he was identifying the studies mainly for data abstraction. (Id.

at 132:22–25.) As for Defendants’ calculation that Dr. Spector spent an average of thirty seconds

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 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 25 of 40 PageID #:29135



with each paper that turned up in his search, they fail to mention that this calculation refers to the

time spent per study during Dr. Spector’s relevance review—in which he only reviewed the titles

and abstracts. Given that abstracts are short, and the irrelevance of certain studies may be

obvious on their face, an average of thirty seconds across 5,500 studies during a title and abstract

review does not strike the court as unreasonable. 22

        Defendants next suggest that various “misstatements” and “errors” pointed out during his

deposition confirm the lack of rigor in Dr. Spector’s analysis. The various edits can be seen clearly

in Dr. Spector’s redlined amended report, showing changes made after the deposition. (See

Spector Redline [605-8].) Some of these edits appear to be merely semantic edits, as Dr. Spector

puts it, to make the report “read better.” (See Spector Sec. Dep. Tr. [605-20] at 18:3–6.) The

most substantive of these errors appear to be misstatements of the confidence intervals of several

of the Dr. Spector’s reported meta-analysis. (See Spector Redline at 18–19.) The reported errors

were not biased in one direction or another—some of the errors mistakenly increased the

minimum and maximum relative risk, others lowered them. As Dr. Spector explains, these were

typographical, not mathematical errors, and did not ultimately impact his analysis; he focused on

the point estimate when reaching his conclusion, not the confidence intervals. (See Spector Sec.

Dep. Tr. at 14:9–13.) Dr. Spector’s errors may reflect sloppy drafting on his part, but it does not,

by itself, justify excluding his testimony. See Gaston v. Hazeltine, No. 3:21-CV-896-CCB, 2024

WL 4224356, at *6 (N.D. Ind. Sept. 18, 2024) (allowing expert despite 97 misquotes in 10-page

report because “the unattributed quotes and typographical errors may be evidence of sloppy

report drafting but do not, on their own, establish a lack of reliability”).

        Defendants also argue that Dr. Spector’s report fails his own academic standards because

he diverged from the “PRISMA” methodology he claimed to follow. (Defs.’ Spector Mem. at 8.)


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                As Plaintiffs point out, doing a similar calculation for Defendants’ expert Dr.
Makuch (dividing total studies reviewed by total hours spent on review and preparing his report)
results in 50 seconds spent per article on average. (Pls.’ Spector Mem. at 8.)


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 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 26 of 40 PageID #:29136



As Dr. Spector explains in his report, PRISMA 23 is a set of guidelines for reporting the results of

an SLR, presented as a checklist. (Spector Rep. at 6; see also id. at 46–49 (Dr. Spector’s

completed PRISMA checklist).) PRISMA does not create any substantive or methodological

requirements that a researcher must follow in reviewing the scientific literature but provides a

standardized format for reporting the results of that review. (See id.) Nonetheless, Defendants

argues that Dr. Spector’s opinion must be excluded because he failed to discuss “implications of

the results [of the work] for practice, policy, and future research,” as he would have done in an

academic article. (Defs.’ Spector Mem. at 8.) But Defendants cite no authority for the position

that the PRISMA guidelines are anything more than a formatting guide, much less a basis for

excluding an expert opinion. Moreover, Dr. Spector’s decision not to discuss the impact of his

findings on “practice, policy, and future research” was reasonable—those impacts could be useful

in an academic setting but would not be relevant to this case. Daubert requires that experts put

the same rigor into preparing their reports for litigation as they would in academic practice, but it

does not require that they produce a piece of academic writing divorced from the demands of the

litigation.

         Finally, Defendants fault Dr. Spector for “admit[ting]” that he would have phrased his

conclusions differently in an academic setting. (Defs.’ Spector Mem. at 10.) They cite again to

deposition testimony where Dr. Spector stated that “I would perhaps have some sort of hedging

language” if he had prepared his SLR for an academic setting because that “is what academics

and scientists like to use because nobody likes to make a definitive statement that later will be

proven wrong.” (Spector Dep. Tr. at 198:19–199:2.) Again, Defendants confuse the methodology

of an SLR with the writing of a report—that Dr. Spector would have phrased his conclusions

differently in an academic context does not mean that the conclusions would in fact be different.


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               The parties do not explain this, but PRISMA is an acronym for “Preferred Reporting
Items for Systematic Reviews and Meta-Analyses,” and is a publicly available resource providing
guidance for the drafting and reporting of systematic reviews. See PRISMA Statement,
https://www.prisma-statement.org/ (last accessed May 1, 2025).

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 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 27 of 40 PageID #:29137



This quote, like others, do not demonstrate that Dr. Spector used any less rigor in reviewing

studies or interpreting meta-analysis for this case.

       D.      Application of Bradford Hill Criteria

       As described earlier, Dr. Spector reviewed the Hill criteria in reaching his ultimate

causation opinion. See supra pp. 8–10. Defendants nevertheless that Dr. Spector “made no real

effort to consider, let alone weigh, the nine Bradford Hill factors.” (Defs.’ Spector Mem. at 11.)

The court disagrees. Dr. Spector considered and discussed each of the nine factors, at least

minimally, and arrived at his conclusion by focusing on four factors in particular: temporality,

strength, consistency, and experiment. He also incorporated the report and analysis of Dr. Sucre,

whose work discussed the biological plausibility, coherence, and analogy factors, finding that they

were better answered in her analysis than in his meta-analysis. True, he did not conclude that

the dose-response and specificity factors weighed in favor of causation, but the law does not

require a causation expert to find all criteria weigh in favor of causation. See In re Testosterone

Replacement Therapy, 2017 WL 1833173, at *11.

       Defendants raise few arguments as to the methodology of Dr. Spector’s appraisal of the

Bradford Hill factors that weighed in favor of causation. As to his finding on temporality, they

assert that Dr. Spector “only assumed” it existed, drawing from his deposition testimony that it

“stands to reason that the [bovine-based nutrition product] was recorded with the correct

temporality.” (Defs.’ Spector Mem. at 12–13.) But Defendants’ argument misunderstands Dr.

Spector’s testimony; he did not “assume” the temporality factor—he reasoned that the peer-

reviewed studies were accurately reporting their results in line with their study designs, 24 and drew


       24
                In Dr. Spector’s deposition, Defendants drew his attention to one of the studies
included in his meta-analyses (Sullivan 2010) that appeared to erroneously record an infant as
having ingested CMBF and developed NEC when, in fact, the NEC had been observed before
the infant had ingested CMBF. (See Spector Dep. Tr. at 178:8–179:12.) Dr. Spector admits that
this error was “sort of egregiously wrong and very surprising,” and he was not aware of it prior to
his deposition. (Id. at 317:17–23.) This is a flaw in his analysis, and it would be a serious one
had Dr. Spector relied only on this data point in Sullivan 2010 for his temporality finding. But the


                                                 27
 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 28 of 40 PageID #:29138



conclusions as to temporality based on that reasoning. (See Spector Rep. at 23.) Defendants

contend that his application of the strength criterion factor was unreliable because he could not

cite anything in “the NEC context” to support his claim that association between CMBF and NEC

observed in his meta-analysis was a strong one by generally accepted standards. (Defs.’ Spector

Rep. at 14.) But Dr. Spector’s established experience in epidemiology qualifies him to opine as

to generally accepted standards for strong statistical associations. To the extent that Defendants

believe this conclusion lacks support in relevant literature, that is grounds for cross examination.

Defendants cite testimony in Dr. Spector’s deposition that he “eyeballed” the studies to determine

consistency (Defs.’ Spector Mem. at 14)—a misleading characterization of his testimony, given

that the full-answer referenced by their brief states that “I eyeballed [consistency], supplemented

with I-squared . . . fortified with [I-squared].” (See Spector Dep. Tr. at 235:7–11.) Defendants

make no claim that the I2 value produced by Dr. Betensky was an unreliable or inaccurate

measure of the heterogeneity of the study results, nor that it was unreasonable for Dr. Spector to

rely on the low-I2 value for a finding of high consistency.

       In short, Defendants’ issues with Dr. Spector’s Bradford Hill analysis are not directed at

his reasoning (i.e., his method). They instead challenge his conclusions, his reliance on Dr.

Betensky’s analysis, and his failure to account for Defendants’ own proffered alternative

explanation of the data. (See Defs.’ Spector Mem. at 13–15.) None of these reasons form a

basis for exclusion under 702. That Defendants believe that Dr. Spector should have come out

the other way in his conclusions is a basis for cross-examination, not for rejecting his methods.

Dr. Spector has demonstrated enough rigor in applying the Hill criteria in his report to satisfy

Daubert.




court is careful not to make too much of this one reporting error; the error (not committed by Dr.
Spector himself) amounts to only one data point among the 26 studies Dr. Spector evaluated, and
as Plaintiffs point out, even Defendants’ own epidemiology expert included and relied on Sullivan
2010. (See Makuch Rep. [616-43] at 10.)

                                                 28
 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 29 of 40 PageID #:29139




        E.      Indicia of Unreliability

        Defendants’ final salvo in its challenge to Dr. Spector is a general reference to the

“checklist” of reliability factors articulated in Daubert, and an assertion that Dr. Spector’s report

fails each factor. (Id. at 17.) Factors mentioned in Daubert (subject to testing, peer-review, error

rate, acceptance in scientific community) are important, though not dispositive, requirements, and

each expert must be evaluated on a case-by-case basis. See C.W. ex rel. Wood., 807 F.3d at

835. Even so, many of Defendants’ assertions that Dr. Spector’s analysis fails to meet this

standard are simply incorrect.

        First, Defendants argue that Dr. Spector’s report bears “indicia of unreliability” because

his report has not been subject to testing or peer-review. But this misunderstands the nature of

Dr. Spector’s work in this case; he did not perform any of his own experiments, nor did he design

studies. He instead reviewed the results of existing epidemiological research and subjected it to

rigorous meta-analysis. While his literature review was not “tested” (whatever that would mean

in this context) or peer-reviewed, the studies that he analyzed were experiments that were subject

to peer review, and his easily replicable review meets the Daubert standard. See Nelson v. Pace

Suburban, No. 17 C 7697, 2022 WL 1401529, at *2 (N.D. Ill. Mar. 21, 2022) (finding expert’s

literature review reliable under Daubert because she used “a clear, replicable method” in

considering peer-reviewed articles). Furthermore, Dr. Spector’s relevance review—where he

narrowed down the relevant studies from over 5,500 down to 107—was subject to some form of

peer review; Dr. Ransom performed an independent application of his exclusion criteria and the

two arrived at similar results.

        Defendants also argue that Dr. Spector’s report is unreliable because his conclusion that

CMBF causes or contributes to NEC is not “generally accepted in the scientific community.”

(Defs.’ Spector Mem. at 18.) But the Daubert inquiry is chiefly concerned with the reliability of an

expert’s method, not the accuracy of the conclusions. Schultz, 721 F.3d at 431. Defendants do

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 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 30 of 40 PageID #:29140



not contest that a systematic literature review aided by a robust biostatistical meta-analysis is a

reliable and widely accepted methodology (not unlike the methods used by their own causation

experts). See RMSE at 723 (“When ordered from strongest to weakest, systematic review of

randomized trials (meta-analysis) is at the top” of possible epidemiological evidence).

       Defendants’ allusion to a high “error rate,” however, requires more attention.            As

Defendants emphasize, Dr. Spector did miss relevant studies in his original report and submitted

a supplemental report addressing them. Defendants suggest that every one of the 13 RCT

studies mentioned in Dr. Spector’s deposition was a “missed” study, and since his original report

included only 12 RCT studies, they calculate an error rate of 50%. (See Defs. Spector Reply [31]

at 4.) The court will assume that a 50% error rate in a report would be grounds for excluding an

expert, but it does not adopt Defendants’ math. For one, their assertion assumes that every one

of the studies cited in the Dr. Spector’s deposition and included in his supplemental report was a

“missed study,” when in fact Dr. Spector’s supplemental report only mentions three studies that

would have been “likely included” in his original report. Moreover, Defendants’ method of dividing

the number of new RCTs by the total number of RCTs to calculate an “error rate” is not a useful

way to measure the error in Dr. Spector’s analysis. Not all RCTs are created equal; some include

more subjects than others, some have wider confidence intervals, some have better methods

than others—indeed, each study in Dr. Spector’s meta-analysis is given a different “weighting.”

(See Spector Rep. at 41–45.) Insofar as “error rate” is a useful term in the context of an SLR, a

better measure of the impact of the missed studies is to compare Dr. Spector’s original RCT

estimate of relative risk with the relative risk calculated in his supplemental report incorporating

the missing studies. Dr. Spector does not perform a supplemental analysis including only the

three studies that would have been “likely included” in his original meta-analysis. But granting,

as Dr. Spector does, that all the studies referenced by Defendants were “missed,” the relative risk

calculation shifts from 1.60 to 1.70, a change (or “error rate”) of 5% in favor of a stronger



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 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 31 of 40 PageID #:29141



association between CMBF and NEC. See supra pp 11–12. This is an acceptable error rate and

does not justify exclusion.

II.    Motion to Exclude Dr. Sucre

       Some of Defendants’ arguments for excluding Dr. Sucre have been resolved in the court’s

prior discussion of Dr. Spector’s report. Defendants argue that Dr. Sucre must be excluded if the

court excludes Dr. Spector due to her reliance on his report (see Defs.’ Sucre Mem. [592] at 5)—

a moot argument as the court has not excluded Dr. Spector’s report. They also raise the same

“threshold dose” argument discussed above, suggesting that Dr. Sucre must be excluded

because she does not opine as to the threshold at which CMBF causes NEC. (Id. at 12-14.) But

for the reasons described previously, the court does not conclude that Plaintiffs’ causation experts

are required to opine on a threshold, and Dr. Spector’s evaluation of dose response (incorporated

by reference into Dr. Sucre’s report) is sufficient. (See Sucre Rep. at 3 n. b.)

       That leaves three arguments that Defendants lodge towards Dr. Sucre: that her

conclusions are not generally accepted in the scientific community, that she cherry-picked studies

in her qualitative assessment, and that her testimony is unhelpful because she cannot explain the

biological pathway of CMBF causing NEC in any particular infant.

       A.      General Acceptance of Conclusions

       Defendants do not dispute that Dr. Sucre’s chosen method—the qualitative assessment—

is a widely accepted method of causation analysis. Rather, they assert that the result of her

assessment (her explanation of the biological pathway by which CMBF increases the risk of NEC)

is out of step with the scientific consensus. They specifically cite a “Consensus Statement”

published jointly by the FDA, CDC, and NIH concluding that “[t]here is no conclusive evidence

that preterm infant formula causes NEC” 25 and “[a]vailable evidence supports the hypothesis that


       25
               Notably, this first conclusion by the agencies, that “there is no conclusive evidence
that preterm formula causes NEC,” does not directly contradict Dr. Sucre’s and Dr. Spector’s
conclusions that CMBF substantially contributes to or causes NEC to a reasonable degree of


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 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 32 of 40 PageID #:29142



it is the absence of human milk—rather than the exposure to formula—that is associated with an

increase in the risk of NEC.” (Defs.’ Sucre Mem. at 8 (citing Consensus Statement [592-1] at 1).)

In response, Plaintiffs largely attempt to discredit the Consensus Statement—pointing to the lack

of time and research that went into the Consensus Statement. (Pls.’ Sucre Resp. [614] at 5–6.)

        The court need not determine at this stage whether Dr. Sucre or the Consensus Statement

are correct; the debate captured in the parties’ respective briefs is exactly the kind of dispute a

jury can and should resolve. The question under Daubert is whether Dr. Sucre came to her

conclusions using reliable methods. General acceptance of a theory is one factor the court can

look at to determine the reliability of Dr. Sucre’s testimony; but it is only one of four non-dispositive

factors mentioned in Daubert. See C.W. ex rel. Wood., 807 F.3d at 835.

        Here, Dr. Sucre’s report sets a clear methodology, identifying search terms likely to turn

up relevant peer-reviewed studies, describing a grading system based on objective criteria, and

walking through every step of her theory of the biological pathway of NEC replete with references

to scientific literature. See generally supra pp. 13–16. Dr. Sucre’s qualifications as an expert in

neonatology are unassailable, and her report satisfies the Daubert inquiry’s requirement that an

expert demonstrates a reliable and replicable methodology. See Nelson, 2022 WL 1401529, at

*2.

        This methodological rigor sets Dr. Sucre’s report apart from cases Defendants cite as

examples of courts excluding experts for presenting opinions allegedly outside the scientific

consensus. In In re Paraquat Prods. Liab. Litig., 730 F. Supp. 3d 793 (S.D. Ill. 2024), the court

held that the lack of peer-reviewed support for an expert’s conclusions “tend[ed] to undermine



scientific certainty; there is no requirement under 702 that Dr. Sucre or Dr. Spector testify to
“conclusive evidence” or “absolute certainty.” See Stutzman v. CRST, Inc., 997 F.2d 291, 296
(7th Cir.1993) (“[A]n expert’s lack of absolute certainty goes to the weight of his testimony, not
the admissibility.”) That said, the consensus statement goes on to interpret the available evidence
to support a finding that it is the absence of human milk that increases the risk of NEC, which
does create a conflict with Dr. Spector and Dr. Sucre’s conclusions and will be fertile ground for
cross-examination of these witnesses.

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 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 33 of 40 PageID #:29143



reliability, rather than support it.”   730 F. Supp. at 850.      But the court noted many other

inadequacies in the expert’s methodology, including the absence of any discernible weighting

criteria, failure “to identify evidence in his two reports that supports his conclusions,” and

“extensive selection bias.” Id. at 841–43. Similarly, in In re Zantac (Ranitidine) Prods. Liab. Litig.,

644 F. Supp. 3d 1075 (S.D. Fla. 2022), the court observed that "no independent scientist or

governmental body has made the analytical leap from the existing data as Dr. McTiernan does,

and the Court deems this fact to be evidence of an unreliable methodology.” 644 F. Supp. 3d at

1234. But the court equally faulted the expert’s “failure to adequately explain to the Court how

her opinion is formulated” and failure to “inform the Court, in either her deposition or her expert

report, how she weighs the various studies.” Id. at 1234-35. Here, Defendants cannot claim that

Dr. Sucre failed to provide the reasons behind her weighting of different studies, or that she failed

to cite studies when making factual or scientific claims in her report. In short, though “general

acceptance” is not a factor affirmatively in favor of Dr. Sucre’s conclusions, her report

demonstrates other indicia of rigor and reliability that satisfies the Daubert inquiry.

       B.      Cherry-Picking

       “Experts who engage in cherry-picking of the evidence fail to satisfy the scientific method

and Daubert.” Van v. Ford Motor Co., 332 F.R.D. 249, 269 (N.D. Ill. 2019) (citing Barber v. United

Airlines, Inc., 17 F. App'x 433, 437 (7th Cir. 2001)). Defendants’ primary charge against Dr.

Sucre’s methods, as opposed to her conclusions, is that Dr. Sucre selectively chose to consider

literature that supported her causation conclusions and ignored evidence that would have refuted

them. (Defs.’ Sucre Mem. at 9.) Specifically, they cite five studies (Schanler 1995, Griffin 1999,

Ng 2019, Hellström 2021, and Embleton 2023) that Dr. Sucre failed to review in her report, despite

their relevance and apparent conflict with her theory of biological plausibility. (Id. at 10-11.)

       Plaintiffs do not dispute that Dr. Sucre did not cite or refer to the five studies mentioned

by Defendants in her report, but they urge that the omissions do not amount to “cherry-picking.”

First, they point out that two of the studies (Shulman 1995 and Griffin 1999) did not meet the

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 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 34 of 40 PageID #:29144



search criteria that Dr. Sucre used to frame her search for relevant articles: both were published

before 2014, 26 and Shulman 1995 does not mention “necrotizing enterocolitis” at all. (Pls.’ Sucre

Mem. at 15.) Plaintiffs further point out that two of the studies (Ng 2019 and Embleton 2023) were

included in Dr. Sucre’s analysis; they can both be found on Dr. Sucre’s Grading Table (though

she did not explicitly mention them in her report). (See Grading Table at 5, 16.) It thus appears

that Dr. Sucre did not selectively decide to exclude these articles from her qualitative analysis.

       The question then becomes whether Dr. Sucre’s decision to not explicitly discuss the

articles amounts to “cherry-picking” only favorable studies. Failure to mention or discuss “highly

relevant” studies that directly refute an expert’s opinion can be a basis for exclusion under

Daubert. See In re Acetaminophen - ASD-ADHD Prods. Liab. Litig., 707 F. Supp. 3d 309, 336

(S.D.N.Y. 2023). Thus, the propriety of Dr. Sucre’s omission of these studies from her written

analysis turns on how directly they appear to contradict her conclusions. The parties hotly debate

this issue. Defendants maintain that each of the studies directly contradict different portions of

Dr. Sucre’s opinion (see Defs.’ Sucre Mem. at 10–11); Plaintiffs respond that the studies are either

irrelevant or in fact supportive of Dr. Sucre’s opinions (Pls.’ Sucre Mem. at 15–16).

       In reviewing the studies mentioned by Defendants and the parties’ respective arguments,

the court does not find that Dr. Sucre’s failure to specifically address them rises to the level of

“cherry-picking.” Shulman 1995 was a study conducted on infants born at or around 33 weeks

gestational age, 27 testing the differences in absorption rates between lactose (the primary

carbohydrate in human milk), glucose polymers (the complex carbohydrates found in CMBF), and


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                On this point, Defendants point out that both Shulman 1995 and Griffin 1999 were
cited in other studies that made it into Dr. Sucre’s report and, thus, should have been reviewed
as “references” in relevant documents. (Defs.’ Sucre Mem. at 10.) But as Dr. Sucre makes clear
in her report, she reviewed references outside of the 2014–2024 timeframe only to “verify a claim
by the authors or to provide additional background information.” (Sucre Rep. at 9.)
       27
              As Dr. Sucre noted when asked about Shulman 1995 in her deposition, the study
population was made up of 21 infants with gestational ages between 28 and 42 weeks—that
means that some, but not all, of the infants looked at in the study were pre-term births. (See
Sucre Dep. Tr. [592-3] at 553:23–556:9; Shulman 1995 at 628.)

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 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 35 of 40 PageID #:29145



mixes of lactose and glucose polymers. (See Defs.’ Ex. 7, Shulman 1995 [592-7] at 626.) As

Defendants note, the study found that the infants in the study digested and absorbed the glucose

polymers better than lactose—thus seeming to refute Dr. Sucre’s conclusion that pre-term infants

cannot absorb CMBF as well as human milk. (See id.) But Shulman 1995 has an important

caveat to this conclusion; it noted that while rates of infant lactose absorption did not vary based

on maturation, digestion and absorption of glucose polymers did depend on post-natal age and

diet—suggesting that absorption rates of glucose polymers may be lower in a more pre-term set

of study participants. (Id.) Given this modest equivocation, Shulman 1995 appears to be a strong

topic for cross-examining Dr. Sucre and her conclusions regarding absorption of glucose

polymers, but it is not so clearly inconsistent with her conclusions as to reduce her analysis to

mere “cherry picking.”

         Griffin 1999 was a random-control study that compared rates of NEC and suspected NEC

between pre-term infants fed lactose-containing formula (the carbohydrate common to human

and cow’s milk) and others fed a prepared “low-lactose” formula replacing lactose with maltose

(one of the complex carbohydrates found in certain CMBFs that Dr. Sucre claims is malabsorbed

by preterm infants). (See Defs.’ Ex. 10, Griffin 1999 [592-10] at 587.) Defendants note language

from the study’s abstract where the researchers concluded that “there was no evidence that [low-

lactose formula] altered the incidence of NEC,” but omit the next clause “but the incidence of NEC

in this study was too low to draw conclusions.” (Id.) Given the researchers’ admission that the

data was insufficient to provide a conclusion, Dr. Sucre cannot be faulted for failing to discuss this

study.

         Ng 2019 was a review of RCTs comparing incidence of NEC in preterm infants fed

standard CMBF with that of infants fed formula containing protein hydrolysate (that is, proteins

that are already partially digested or “hydrolyzed”). (See Defs.’ Ex. 11, Ng 2019 [592-11] at 1–2.)

Defendants urge that the article’s finding of statistically identical rates of NEC in these two groups

undermines Dr. Sucre’s conclusions that proteins in CMBF are causes of malabsorption and NEC.

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 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 36 of 40 PageID #:29146



(See Defs.’ Sucre Mem. at 10–11 (citing Ng 2019 at 2).) The argument goes that if Dr. Sucre’s

position were correct, and the proteins in CMBF are malabsorbed and lead to NEC, then

hydrolyzing the proteins should result in lower rates of NEC. But the fact that a result of a study

does not prove a theory does not mean that the study affirmatively contradicts it. Dr. Sucre argues

that it is the proteins, carbohydrates, and fats in CMBF that lead to NEC—that the proteins are

hydrolyzed in a particular experiment does nothing to alter the carbohydrates and fats in the

formula. Had Dr. Sucre not even reviewed Ng 2019 (which fits under her search criteria) at all,

the court would be skeptical. But her Grading Table shows that she reviewed and graded it.

(Grading Table at 5.) That she did not directly cite an article that neither affirmatively proves nor

denies her theories is not a basis for exclusion.

       Hellström 2021 is the one study mentioned by Defendants that appears to have met Dr.

Sucre’s search criteria (published 2014–24 and mentioning “necrotizing enterocolitis”) but was

not included in her Grading Table. (See Defs.’ Ex. 12, Hellström 2021 [592-12] at 359.) It is also

the only study not primarily interested in NEC. The study was a randomized clinical trial testing

whether supplementing pre-term infant diets with fatty acids reduced incidence of eye disease.

(Id.) The study also recorded any incidence of NEC (along with other health outcomes) in the

infants given fatty acids and the control group but noted “[t]here were no significant differences in

[necrotizing enterocolitis]” between the two groups. (Id. at 362.) Defendants argue that because

Dr. Sucre concludes that the fats in CMBF contribute to NEC, she wrongfully ignored the study.

(Defs.’ Sucre Mem. at 11.) But Plaintiffs correctly note that the study makes no mention of the

diets that the infants in the study were fed, and it is not obvious to the court that the “fatty acids”

supplemented in the study are the same as the fats in CMBF discussed in Dr. Sucre’s report (she

was not asked about this study in her deposition). Defendants may be able to draw out a

contradiction through cross-examination, but there is insufficient evidence at this point that Dr.

Sucre erred by ignoring this study.



                                                  36
 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 37 of 40 PageID #:29147



       Finally, Embleton 2023 was an RCT testing the effect of an exclusively human milk diet

on gut microbial diversity in preterm infants. (Defs.’ Ex. 13, Embleton 2023 [592-13] at 1.) Dr.

Sucre cited this study in her Grading Table, but did not cite it in her report. Defendants point out

that the study found no differences in the gut microbiome between infants given exclusively

human milk versus infants fed with formula. (See id.) Defendants interpret this finding as

undermining Dr. Sucre’s conclusions that “maldigestion of formula causes bacteria to proliferate.”

(Defs.’ Sucre Mem. at 11.) But the relationship between malabsorption of CMBF nutrients (the

basis of Dr. Sucre’s conclusions) and gut microbiome diversity (the subject of Emberton 2023) is

not obvious in the record; Emberton 2023 does not discuss the implications of its findings on

malabsorption of nutrients, and Dr. Sucre was not questioned about the findings of the study in

her deposition. Indeed, Dr. Sucre’s discussion of the gut microbiome in her report was limited to

noting that “[a]lthough the microbiome can play a role in NEC and may be altered by undigested

carbohydrates, protein, and fats, none of [the] literature linking changes in the microbiome and

NEC has demonstrated causation,” ultimately concluding that “the microbiome has not been

shown to be a dominant mechanism in the increased risk of NEC associated with exposure to

CMBF.” (Sucre Rep. at 40.) Given these conclusions, Emberton 2023 does not appear to be

highly relevant to Dr. Sucre’s conclusions.

       The court recognizes that its own understanding of these studies is not infallible, and that

Defendants may well defeat Dr. Sucre’s conclusions in cross-examination or with the testimony

of their own experts. The court concludes only that un-addressed studies are not so obviously

relevant as to cast doubt on the reliability of Dr. Sucre’s method.

       C.      Helpfulness

       Defendants argue that Dr. Sucre’s testimony should be excluded as unhelpful to the jury

because she is not able to testify as to whether CMBF caused NEC in any specific infant. (Defs.’




                                                37
 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 38 of 40 PageID #:29148



Sucre Mem. at 14.) 28 They cite to statements in Dr. Sucre’s deposition where she admitted that

it is impossible “after the fact . . . [to] isolate which part of the formula caused the NEC” in a

specific case. (Id. (quoting Sucre Dep. Tr. at 133:4–17).) This argument appears to look past the

difference between general and specific causation experts.           “General causation addresses

whether a particular agent can cause a particular illness,” while “[s]pecific causation addresses

whether that agent in fact caused the particular plaintiff's illness.” Aurand v. Norfolk S. Ry. Co.,

802 F. Supp. 2d 950, 953 (N.D. Ind. 2011) (citing Milward v. Acuity Specialty Prods. Group, Inc.,

639 F.3d 11, 13 (1st Cir. 2011)). As a general causation expert, Dr. Sucre need not opine that

CMBF caused NEC in any particular infant.

        Defendants further urge, however, that Dr. Sucre’s testimony is unhelpful because neither

“she nor the jury nor anyone else can link her general causation testimony to these specific

cases.” (Defs. Sucre Mem. at 15 (quoting In re Mentor Corp. Obtape Transobturator Sling Prods.

Liab. Litig., 2015 WL 7863032, at *1 (M.D. Ga.)).) 29 That remains to be seen; the court has yet

to exclude any of Plaintiffs’ specific causation experts. For now, Dr. Sucre’s opinion putting forth

an explanation of the biological plausibility of CMBF causing NEC is necessary and helpful for the

jury.




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                In their reply brief, Defendants suggest that Plaintiffs “concede” this issue because
Plaintiffs’ opposition brief not directly address whether Dr. Sucre can tie her testimony to a specific
infant. (Defs.’ Sucre Reply [623] at 3.) This is not the case. Plaintiffs devote significant space in
their opposition brief explaining how Dr. Sucre’s testimony is helpful as a general causation
expert. (Pls.’ Sucre Opp’n at 11–14.)
        29
               Defendants cite to In re Mentor Corp., where the defendant moved to exclude a
general causation expert on a similar basis: that it suspected the plaintiffs would be unable to
introduce evidence connecting the expert’s testimony to any specific case. 2015 WL 7863032, at
*1. But the court deferred ruling on the matter, reasoning that “[i]f Plaintiffs produce a specific
causation expert to tie [the expert’s] general causation testimony to their specific cases, then his
testimony will be admitted.” Id. The case thus contradicts Defendants’ apparent view that Dr.
Sucre herself must connect her general causation testimony to the specific plaintiffs.


                                                  38
 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 39 of 40 PageID #:29149




III.    Motion for Summary Judgment

        The court’s conclusions concerning Dr. Spector and Dr. Sucre effectively resolve

Defendants’ motion for summary judgment. That motion rests on a determination that the court

has not made—that Plaintiff’s experts do not meet Daubert’s standard for inclusion under Federal

Rule of Evidence 702.       Specifically, as Defendants’ memorandum makes clear, they seek

summary judgment at this stage on the basis that (1) Plaintiffs require expert testimony on

causation to prove their claims and (2) Plaintiffs lack such testimony if Dr. Spector and Dr. Sucre

are excluded. (Defs.’ Summ. J. Mem. [610-1] at 4–8.) Because the court does not exclude Dr.

Spector or Dr. Sucre, this argument is moot.

        Defendants, in the alternative, seek summary judgment as it relates to claims that their

cow’s-milk-based fortifier, not formula, caused NEC. (Id. at 8.) 30 Indeed, Dr. Sucre limited her

opinion to formula, not fortifier products. (See Sucre Dep. Tr. at 283:6–8). Dr. Spector did not

discriminate between formula and fortifier in his meta-analysis; he recognizes that formula

presents a greater risk for than does fortifier but does not offer an opinion specific to fortifier. (See

Spector Dep. Tr. at 147:16–149:13.) As Plaintiffs point out, however, it is premature to dismiss

all fortifier claims in the MDL at this stage; none of the cases chosen as bellwethers involve infants

fed exclusively fortifier. A “fortifier alone” expert opinion may be forthcoming as those cases

develop. (See Pls. Summ. J. Opp’n at 8.) The court therefore withholds judgment on the “fortifier

alone” cases for a later date.




        30
                 The difference between formula and fortifier is best explained in the report of
Defendants’ expert Dr. Camilia Martin. (See Martin Rep. [616-25] at 9–10.) As Dr. Martin
explains, fortifier products “add energy, protein, and nutrients” to human milk “to meet the massive
nutritional demands of premature infants who would otherwise be receiving nutrition from the
placenta.” (Id.) But “[w]hen human milk is unavailable, specialty preterm infant formula is the
best option for nourishing premature infants.” (Id. at 10.) In other words, fortifier provides key
nutritional benefits to supplement an available supply of human milk, while formula substitutes for
human milk where there is an absence of supply.

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 Case: 1:22-cv-00071 Document #: 646 Filed: 05/02/25 Page 40 of 40 PageID #:29150




                                         CONCLUSION

       Daubert rulings, like all in limine determinations, are provisional and are subject to review

at trial. At this stage, Defendants’ motions to exclude Dr. Spector [605] and Dr. Sucre [592] under

Federal Rule of Evidence 702 are denied without prejudice, as is their motion for summary

judgment [610].




                                             ENTER:




Dated: May 2, 2025                           _________________________________________
                                             REBECCA R. PALLMEYER
                                             United States District Judge




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